          Case 3:17-cv-05806-RJB Document 454-1 Filed 05/06/21 Page 1 of 7




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 5
                         UNITED STATES DISTRICT COURT
 6                      WESTERN DISTRICT OF WASHINGTON
                                  AT TACOMA
 7
      STATE OF WASHINGTON,                    C17-5806RJB
 8
                        Plaintiff,
 9
               v.
10
      THE GEO GROUP, INC.,
11
                        Defendant.
12

13    UGOCHUKWU GOODLUCK                      C17-5769RJB
      NWAUZOR, FERNANDO
14    AGUIRRE-URBINA, individually and
      on behalf of all those similarly
15    situated,
                                              COURT’S CASE INTRODUCTION TO
16                              Plaintiffs,   ALL JURORS

17             v.

18    THE GEO GROUP, INC., a Florida
      corporation,
19
                            Defendant
20

21

22

23

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     COURT’S CASE INTRODUCTION TO ALL JURORS
             Case 3:17-cv-05806-RJB Document 454-1 Filed 05/06/21 Page 2 of 7




 1           Ladies and Gentleman:

 2           We are conducting civil trials remotely, on the Zoom platform, because of the pandemic.

 3   This means that jurors will not be required to come to the Courthouse every day, but will

 4   participate by computer from home or your private space or office. The obligations of jurors will

 5   be the same as if you were in the courtroom. You must be able to give the case your full

 6   attention from 9:00 a.m. until 4:00 p.m. throughout the trial. Also, you must follow the orders

 7   and instruction of the Judge and court staff.

 8           The first order of business today is for me to tell you a bit about the case we are going to

 9   try and to introduce the participants in the trial.

10           We have joined two cases together for the first phase of this trial, because the two cases

11   share common issues. After those issues are resolved, the same jury may be called upon to hear

12   a second phase of the case.

13           The Plaintiffs in the first case are Ugochukwu Goodluck Nwauzor and Fernando Aguirre-

14   Urbina. Their lawyers are ______________________________ and

15   __________________________. These Plaintiffs are here on their own behalf and as

16   representatives of a class of others. Their claims are described as a class action. A class action

17   is a lawsuit that has been brought by one or more plaintiffs on behalf of a larger group of people

18   who have similar legal claims. All of these people together are called a “class.” In a class

19   action, the claims of many individuals can be resolved at the same time instead of requiring each

20   member to sue separately over the same issue. Because of the large number of possible claims

21   that are in the case, not everyone in the class will testify. The evidence at trial applies to all class

22   members. All members of the class will be bound by the result of this trial.

23           In this case, the Plaintiffs’ class consists of the following:

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     COURT’S CASE INTRODUCTION TO ALL JURORS
             Case 3:17-cv-05806-RJB Document 454-1 Filed 05/06/21 Page 3 of 7




 1          All civil immigration detainees who participated in the Voluntary Work Program at the
            Northwest Detention Center at any time between September 26, 2014, and the date of
 2          final judgment in this matter.
            The Plaintiff in the second case is the State of Washington. The State here is represented
 3
     by Assistant Attorneys General _______________________ and
 4
     ____________________________.
 5
            The Defendant in both cases is The GEO Group, Inc., a corporation also known as
 6
     “GEO.” GEO’s lawyers are _____________________________ and _____________________.
 7
            The parties have agreed on certain facts that will give you the background of the issues:
 8

 9                                     III.    ADMITTED FACTS

10          The following facts are admitted by the parties:

            1.      GEO owns and operates the Northwest Immigration and Customs Enforcement
11
     Processing Center, which was known from 2005 to 2019 as the Northwest Detention Center. It
12
     is located at 1623 East J Street, Tacoma, Washington.
13
            2.      Since October of 2005, GEO has contracted with U.S. Customs and Immigration
14
     Enforcement (ICE) within the U.S. Department of Homeland Security to provide civil
15   immigration detention management services at the Center for adults held in administrative

16   custody as they await immigration status review by ICE and the federal judiciary.

17          3.      GEO has expanded the capacity of the Center. The Center initially had the

     capacity to house between 500 to 800 individuals. In July 2006, GEO expanded the Center to
18
     house up to 1,000 individuals . In October 2009, GEO expanded the Center a second time so that
19
     it now has the capacity to house up to 1,575 individuals.
20
            4.      Pursuant to the Center contract between GEO and ICE, GEO provides detention
21   services to ICE including, but not limited to: the building, management and administration,
22   security, clean and vermin free facilities, food service with three nutritious meals per day, clean

23   uniforms and bedding, and barbershop/grooming services.

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     COURT’S CASE INTRODUCTION TO ALL JURORS
             Case 3:17-cv-05806-RJB Document 454-1 Filed 05/06/21 Page 4 of 7




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            5.      Pursuant to the Center contract between GEO and ICE, GEO is required to
 2   “perform in accordance with” specific “statutory, regulatory, policy, and operational”
 3   constraints, including the ICE/DHS Performance Based National Detention Standards, as well as

 4   “all applicable federal, state, and local laws.”

            6.      The Performance Based National Detention Standards, and its predecessor the
 5
     National Detention Standards, is a set of standards developed by ICE to ensure that all entities it
 6
     contracts with provide safe and secure facilities.
 7
            7.      Performance Based Standard 5.8 requires that GEO offer detained persons an
 8
     opportunity to work in a Voluntary Work Program.
 9          8.      Since October of 2005, GEO has offered detainees positions in its Voluntary

10   Work Program.

11          9.       On a given day, there could be as many as 470 positions for detainees in the

     Voluntary Work Program at the Center.
12
            10.     While detained, detainees do not have the opportunity to leave the Center or work
13
     outside of the Center, unless explicitly authorized by ICE.
14
            11.     GEO does not review whether detainee-workers have work authorization when
15   reviewing their requests/applications for positions in the Voluntary Work Program.
16          12.     GEO maintains job descriptions for Voluntary Work Program positions.

17          13.      Positions that are available to detainees in the Voluntary Work Program are

18   varied, including in the kitchen, in the laundry room, cleaning of common areas, and cutting hair

     in the barbershop.
19
            14.     GEO provides detainees in Voluntary Work Program positions with all
20
     equipment, materials, supplies, uniforms, and personal protective equipment necessary to their
21
     Voluntary Work Program position.
22          15.     GEO has never paid detainees in Voluntary Work Program positions the state
23   minimum wage.

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     COURT’S CASE INTRODUCTION TO ALL JURORS
               Case 3:17-cv-05806-RJB Document 454-1 Filed 05/06/21 Page 5 of 7




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               16.    GEO has paid and continues to pay detainees in Voluntary Work Program positions
 2   $1 per day.
 3             17.    Performance Based Standard 5.8 states: “Detainees shall receive monetary

 4   compensation for work completed in accordance with the facility’s standard policy. The

     compensation is at least $1.00 (USD) per day.”
 5
               18.    GEO employs non-detainee employees, including two or three janitors at the
 6
     Center.
 7
               19.    Washington’s hourly minimum wage from 2005 to the present year has gone from
 8
     $7.35 on January 1, 2005, to $13.50 on January 1, 2020.
 9
               20.    Mr. Nwauzor is a citizen of Nigeria, and was granted asylum in the United States
10
     in January 2017.
11
               21.    Mr. Nwauzor was held at the Center as a civil immigration detainee from
12
     approximately June 2016 until January 2017.
13
               22.    Mr. Nwauzor held a Voluntary Work Program position during his detention at the
14
     Center.
15
               23.     Mr. Nwauzor obtained lawful permanent residence status, commonly known as a
16   “green card,” in July 2018.
17             24.    Mr. Aguirre-Urbina was born in Mexico.

18             25.    Mr. Aguirre-Urbina was held at the Center as a civil immigration detainee

     beginning in September 2012.
19
               26.    Mr. Aguirre-Urbina held a Voluntary Work Program position during his detention
20
     at the Center.
21

22             All parties agree that the first issues to be tried are whether GEO is required to pay the

23   hourly minimum wage to detainees in the Voluntary Work Program at the Center under the State

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     COURT’S CASE INTRODUCTION TO ALL JURORS
             Case 3:17-cv-05806-RJB Document 454-1 Filed 05/06/21 Page 6 of 7




 1   of Washington’s Minimum Wage Act; and does intergovernmental immunity render GEO

 2   immune from liability under the Minimum Wage Act?

 3           The Plaintiff State of Washington claims that it brings this case as an enforcement action,

 4   to require GEO to adhere to Washington State’s Minimum Wage Act. The class Plaintiffs’ claim

 5   is to recover for money they claim is due, under the Minimum Wage Act, for work performed as

 6   part of the Voluntary Work Program.

 7           Defendant denies the Plaintiffs’ claims and affirmatively claims that GEO is immune

 8   from Plaintiffs’ claims under the law.

 9           Plaintiffs deny Defendant’s claims.

10           The parties have the burden of proving any claim or affirmative defense by a

11   preponderance of the evidence, which means you must be persuaded by the evidence that the

12   claim or affirmative defense is more probably true than not true.

13           GEO has been the subject of news reports on other subjects lately that are not directly

14   relevant to these cases. This case is not about whether the government’s contracting with private

15   entities to operate detention facilities is a good or bad policy, nor is it about specific events at the

16   Center, unrelated to the issue of minimum wage and the Voluntary Work Program. Nor are these

17   cases about United States’ Immigration Policy or border issues.

18           An important part of the case is jury selection. In order that the case be tried before an

19   impartial jury, the lawyers and I will ask you questions, not to embarrass you or to pry into your

20   private affairs, but to determine if you are unbiased and without preconceived ideas which might

21   affect the case. You should not withhold information in order to be seated on this particular jury.

22   You should be straightforward in your answers rather than answering in the way you feel the

23   lawyers or I expect you to answer. Your answers will be under oath. It is presumed that when a

24   jury has been selected and accepted by both sides, each of you will keep an open mind until the


     COURT’S CASE INTRODUCTION TO ALL JURORS
             Case 3:17-cv-05806-RJB Document 454-1 Filed 05/06/21 Page 7 of 7




 1   case is finally submitted, will accept the instructions of the Court, and will base any decision

 2   upon the law and the facts uninfluenced by any other considerations. The purpose of the

 3   questions is to determine if you have that frame of mind.

 4          The lawyers have the right and duty to challenge any jurors for cause. They may also

 5   challenge a certain number of jurors without giving any reason as a guarantee to both parties that

 6   they may remove some jurors if they wish. You should not take offense if you are challenged,

 7   because the challenges are not exercised as a personal reflection on you.

 8          A number of witnesses may testify in this case. I have asked counsel to list the witnesses

 9   that are local, and I will read the list to you. Make a mental or written note of anyone on the list

10   of witnesses that you know, or know of, and we         will ask you about that in the questioning.

11   Possible witnesses are: _____________________________________________

12          We are going to divide you up into groups of ________________ for inquiry into

13   whether each of you can serve as fair and impartial jurors in this case.

14          I ask each of you for your patience. We will work as fast as we can.

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     COURT’S CASE INTRODUCTION TO ALL JURORS
